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                                                                                     EXHIBIT C
 STATE OF NORTH CAROLINA                              IN THE GENERAL COURT OF JUSTICE
                                                          SUPERIOR COURT DIVISION
 WAKE COUNTY                                                    23 CVS 21414-910


 SLOAN RACHMUTH, EDUCATION FIRST
 ALLIANCE, INC., EDUCATION FIRST
 ALLIANCE PAC, and EDUCATION FIRST
 ALLIANCE NC, INC.,
                                                  )
                                                      ORDER DENYING DEFENDANT'S
               Plaintiffs,
                                                      MOTION TO SET ASIDE ENTRY OF
                                                       DEFAULT AND TO SET ASIDE
                                                  )     PRELIMINARY INJUNCTION
 KARI DONOVAN,

               Defendant.




        THIS CAUSE came on to be heard and was heard on May 15, 2024 before the Honorable

 A. Graham Shirley, Superior Court Judge Presiding, on Defendant's Motion to Set Aside Entry

 of Default and to Set Aside Preliminary Injunction, with James T. Johnson, Esq. appearing on

 behalf of the Plaintiffs and John M. Kirby, Esq. appearing on behalf of the Defendant; and after

 reviewing the pleadings, affidavits filed, and memoranda submitted, and after hearing arguments

 of counsel and reviewing caselaw provided by counsel, the Court finds and concludes as follows:

        1.     Plaintiff's Motion for Leave to Amend Complaint was filed on November 6, 2023

 and served on Defendant by email and regular mail, who was proceeding pro se at the time. The

 Notice of Hearing for Plaintiff's Motion for Leave to Amend Complaint was also filed on

 November 6, 2023 and served on Defendant by email and regular mail, notifying her the Motion

 for Leave to Amend was going to be heard on November 15, 2024.

        2.     Plaintiff's Motion for Leave to Amend Complaint was heard on November 15,

 2024 before the honorable Patrick T. Nadolski. Defendant attended the hearing in person. Judge

 Nadolski granted the Motion for Leave to Amend Complaint in open court. Defendant, being in
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 court at the hearing, was presumably listening to Judge Nadolski when he announced that

 Plaintiffs were being granted leave to file an amended complaint.

          3.      The Order Allowing Motion for Leave to Amend and Denying Motion to Dismiss

 was signed and filed on November 22, 2023 ("November 22, 2023 Order"). The November 22,

 2023     Order    was   served   on   Defendant       on   November   27,   2023   by   email   at


 karidonovanl01@gmail.com and by first-class mail at 106 Preston Ridge Court, Cary, NC

 27513.

          4.      The November 22, 2023 Order specifically stated that Plaintiffs had ten days from

 the date of the entry of the Order to file their First Amended Complaint; accordingly, the

 deadline for Plaintiffs to file their First Amended Complaint was December 2, 2023.

          5.      The November 22, 2023 Order was available online for viewing by Defendant

 through the court system public portal.

          6.      On November 30, 2023, Plaintiffs filed their First Amended Complaint. The First

 Amended Complaint was served on Defendant on November 30, 2023 by email at

 karidonovanl01@gmail.com and by first-class mail at 106 Preston Ridge Court, Cary, NC

 27513.

          7.      Plaintiffs' First Amended Complaint was available online for viewing by

 Defendant through the court system public portal.

          8.       Defendant failed to file an answer or other response to the First Amended

 Complaint.

          9.      On January 8, 2024, Plaintiffs filed and served on Defendant a Motion for Entry

 of Default, which was granted on January 9, 2024.

          10.     Defendant has asserted that she did not receive a copy of the First Amended



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 Complaint, and that the email correspondence that included a copy of the First Amended

 Complaint went to her “Promotions” email folder. However, the fact that Defendant was in

 court for the Motion to Amend hearing on November 15, 2023 and therefore knew that Plaintiffs

 were going to be filing an Amended Complaint should have put Defendant on high notice to be

 looking for service of the Amended Complaint and to also be regularly looking at the online

 public portal to ensure she had not missed anything.

        11.     On December 8, 2023, Plaintiffs served on Defendant by email and first-class

 mail their First Set of Interrogatories and Request for Production of Documents addressed to

 Defendant.

        12.     Defendant did not request or obtain a formal or informal extension to respond to

 the discovery. The deadline to respond to the discovery was January 7, 2024.

        13.     Defendant did not respond to the discovery. Plaintiffs filed a Motion to Compel

 on January 19, 2024.

        14.     During the months of December 2023 and January 2024, Defendant continued to

 publish numerous derogatory online posts about Plaintiffs that Plaintiffs contend were false and

 defamatory.

        15.     On January 19, 2024, Plaintiffs filed their Motion for Temporary Restraining

 Order, Preliminary Injunction, and Permanent Injunction.

        16.     Defendant was served with a copy of this Motion by email and first-class mail.

 Defendant was also notified of the date and time of the hearing on the Motion for Temporary

 Restraining Order, by email and first-class mail.

        17.     Plaintiffs’ Motion for Temporary Restraining Order was heard before the

 Honorable Gail M. Adams on January 22, 2024. Defendant did not appear at the hearing. Judge



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 Adams granted the Temporary Restraining Order (“TRO”) by Order signed January 24, 2024 and

 set the hearing on Plaintiffs’ Motion for Preliminary Injunction for January 30, 2024.

        18.     Defendant was served with a copy of the TRO by email and first-class mail. In

 the TRO, Judge Adams specifically stated the time and place of the hearing on Plaintiffs’ Motion

 for Preliminary Injunction. Defendant was also served with a Notice of Hearing as to the Motion

 for Preliminary Injunction, both by email and first-class mail.

        19.     Defendant contends that on or about January 25, 2024, she looked in her

 “Promotions” email folder and saw that she had received numerous pleadings in this case,

 including the most recent Motion for Preliminary Injunction and Notice of Hearing for same.

        20.     Defendant filed a motion to continue the hearing on the Preliminary Injunction

 using a District Court motion and order form. Her motion for a continuance was not properly

 filed, and she did not adhere to the local Superior Court rules regarding motions to continue

 hearings.

        21.     Defendant did not follow up with the Trial Court Administrator regarding whether

 her motion was going to be granted, or even heard, she did not appear at the hearing to attempt to

 make a motion to continue in person, and she did not retain a lawyer to appear at the hearing on

 her behalf to attempt to obtain a continuance.

        22.     The hearing on Plaintiff’s Motion for Preliminary Injunction was conducted on

 January 30, 2024 before the Honorable Judge Clayton Somers. Defendant did not appear at the

 hearing. Judge Somers initially addressed the written motion for continuance that Defendant had

 attempted to file. He found that it was not properly before the court and denied the motion to

 continue.

        23.     After hearing Plaintiffs’ Motion for Preliminary Injunction, Judge Somers granted



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 the Motion and signed and entered the Preliminary Injunction on February 1, 2024.             The

 Preliminary Injunction was served on Defendant by email and first-class mail. The Preliminary

 Injunction was also personally served on Defendant by the Sheriff on February 6, 2024.

        24.     Defendant cites Service                             ..   LLC, 2023 U.S. Dist. LEXIS

 204266, 2023 WL 7708259 (D. Md. 2023; Case 8: 21-cv-02114) for the proposition that a

 Defendant not checking his/her "junk" email folder is sufficient good cause to set aside an entry

 of default. However, the facts in that case are distinguished. In ServicePower, because of

 difficulties with initial service, the court entered an order allowing the plaintiff to serve the

 defendant with process by email. The email went to the defendant's spam folder. The defendant

 did not see the email, did not respond, and default was entered.           The ServicePower court

 concluded that the defendant not checking his spam folder was an understandable excuse for not

 responding to the Complaint given that he had yet to be served with any notice that a lawsuit was

 pending against him, and he had no reason to be on alert or notice to be checking his spam folder

 or any online public court access portal.

        25.     In the present case, Defendant was aware a lawsuit was pending against her, she

 knew that an Amended Complaint was going to be filed, and she knew she was going to have to

 respond to the Amended Complaint. Notwithstanding, Defendant failed to regularly check her

 mail, she failed to check her promotions and junk email folders, and failed to check the online

 public court access portal, for over 60 days.

        26.     During this period, in addition to failing to answer the First Amended Complaint,

 Defendant failed to respond to duly served discovery, failed to attend the hearing on the TRO,

 and failed to attend the hearing on the Preliminary Injunction.

        27.     During this period, Defendant continued to publish numerous online posts about



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 Defendants that Defendants contend are false and defamatory.

        28.     In its discretion, the Court finds that the Defendant has failed to establish

 sufficient good cause to set aside the Entry of Default.

        29.     The Court, in its discretion, further finds that, given the nature of the actions at

 issue and circumstances of the case, Defendant will not suffer a grave injustice if the Entry of

 Default is not set aside and also finds that Plaintiffs have suffered harm as a result of

 Defendant's delay and dilatory actions.

        30.     With regard to Defendant's request to set aside the Preliminary Injunction

 pursuant to Rule 60(b) of the North Carolina Rules of Civil Procedure, Rule 60(b)(1) applies

 only to final judgments, orders, or other proceedings. Rule 60(b) has no application to

 interlocutory orders.

        31.     A preliminary injunction is an interlocutory order.

        32.     Accordingly, Rule 60(b) has no application to the Preliminary Injunction issued in

 this case and cannot serve as a basis to overturn, modify, or amend the Preliminary Injunction.

        BASED ON THE ABOVE FINDINGS, the Court concludes that Defendant has failed to

 establish good cause to set aside the Entry of Default and that Defendant has established no legal

 basis to set aside or amend the Preliminary Injunction.

        IT IS THEREFORE, HEREBY, ORDERED that Defendant's Motion to Set Aside Entry

 of Defaultang,to..sef Aside Preliminary Injunction is denied.

        SO ORDERED, this the28th day of         May              .2024.



                                              ACs ashy
                                       THE HONORABLE A. GRAHAM SHIRLEY
                                       SUPERIOR COURT JUDGE


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